                             COMPLAINT FORM
                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WISCONSIN

LAURA RAPP,                            )
                                       )            Case Type: Malpractice
LAURA RAPP AS FORMER PERSONAL          )
REPRESENTATIVE OF THE ESTATE OF        )
LAURENCE A. BERG,                      )          Case No.:__17-cv-948____
                                       )          Judge:_____________________
                    Plaintiffs,        )
                                       )                      COMPLAINT
                                       )
                                       )         JURY TRIAL DEMANDED


              v.
                                       )
ANDREW LAUFERS,                        )
12954 Eagle Bluff Drive, Burnsville,   )
Minnesota 55337,                       )
                                       )
KATHERINE BROWN HOLMEN                 )
3590 Birch Pond Road, Eagan,           )
Minnesota 55122,                       )
                                       )
DUDLEY AND SMITH, P.A.                 )
c/o Joseph J. Dudley, Jr.              )
101 East 5th Street, Suite 2602        )
Saint Paul, MN 55101,                  )
                                       )
JOHN DOE #1, Address Unknown           )
                                       )
JOHN DOE #2, Address Unknown           )
                                       )
JOHN DOE #3, Address Unknown           )
                                       )
JOHN DOE #4, Address Unknown           )
                                       )
JOHN DOE #5, Address Unknown           )



                   Defendants.
                                        A. PARTIES

1. Plaintiff Laura A. Rapp is a citizen of California and resides at 144 Corte Anita,
Greenbrae, California 94904. Laura Rapp was previously a resident of Austin, Texas.

2. Plaintiff Laura A. Rapp, former personal representative of the Laurence A. Berg
Estate, is a citizen of California and resides at 144 Corte Anita, Greenbrae, California
94904. Laura Rapp was previously a resident of Austin, Texas.

3. Defendant Andrew J. Laufers is a citizen of Minnesota and resides at 12954 Eagle
Bluff Drive, Burnsville, Minnesota 55337. Andrew Laufers worked for Dudley and
Smith, PA, 101 East 5th Street, Suite 2602, Saint Paul, Minnesota 55101, and is now
employed by Cordell and Cordell, 7701 France Avenue South, Suite 375, Edina,
Minnesota 55435.

4. Defendant Katherine A. Brown Holmen is a citizen of Minnesota and resides at 3590
Birch Pond Road, Eagan, Minnesota 55122. Katherine Brown Holmen worked for
Dudley and Smith, PA, and continues to be employed by Dudley and Smith, PA, 101
East 5th Street, Suite 2602, Saint Paul, Minnesota 55101

5. Defendant Dudley and Smith, PA is a law firm, c/o Joseph J. Dudley, Jr., operating
at 101 East 5th Street, Suite 2602, Saint Paul, Minnesota 55101

6. John Doe #1 – Address Unknown

7. John Doe #2 – Address Unknown

8. John Doe #3 – Address Unknown

9. John Doe #4 – Address Unknown

10. John Doe #5 – Address Unknown


                             B. STATEMENT OF CLAIM


Plaintiff Laura A. Rapp, as an individual, and Plaintiff Laura A. Rapp, as the former

Personal Representative of the Laurence A. Berg Estate, for their cause of action

against Defendants alleges that, upon personal knowledge as to themselves, and upon

information and belief that:



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       This case involves the unfortunate fallout from the attempted settlement of

the Estate of Laurence A. Berg (hereinafter “Berg Estate”). Laurence Berg, Vicki

Garves-Berg, and Brett Weller died in a plane crash in Menomonie, Wisconsin,

pursuant to Vicki Garves-Berg’s return from a business trip to Sheboygan, Wisconsin

on behalf of Vicki Garves-Berg’s business, Vital Anesthesia Associates, Ltd. What

followed the attempted settlement was a doomed attempt to undo Attorney Andrew J.

Laufers’ (hereinafter “Laufers”), Attorney Katherine Brown Holmen’s (hereinafter

“Brown Holmen”), and Dudley and Smith, PA’s (hereinafter “Dudley”) mistakes, which

have imposed and continue to impose financial and emotional distress on Laura

Rapp, individually, and Laura Rapp, as the former personal representative of her

brother Laurence Berg’s estate (collectively hereinafter “Plaintiff Rapp” or “Rapp”).

The Berg Estate is an estate which is being probated in the State of Wisconsin and

one for which this former out-of-state personal representative’s bond remains

outstanding. Plaintiff Rapp’s bond remains the subject of litigation though the date of

this filing. Additionally, a contempt of court claim against Plaintiff Rapp is also

outstanding but is stayed pending the outcome of the claim against the bond.

       Since signing the aforementioned January 10, 2012, Settlement Agreement

(hereinafter “Settlement Agreement”), which Laufers, Brown Holmen, and Dudley

advised Plaintiff Rapp to sign, Plaintiff Rapp has been continually subjected to Berg

Estate-related and plane crash-related litigation, ongoing legal expenses, and severe

financial and emotional distress. Laufers, Brown Holmen, and Dudley advised

Plaintiff Rapp to participate in mediation, mediation which was prematurely initiated

by Laufers. Laufers advised Plaintiff Rapp to individually negotiate a settlement with



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her father, James Berg, and his attorney during mediation, which distracted her from

her responsibilities to the Berg Estate and caused her to focus her attention on

negotiating a settlement between Weller, Garves, and James Berg. Laufers then

advised Plaintiff Rapp to enter the Settlement Agreement which was impossible to

fulfill from the moment it was signed and bound Plaintiff to obligations which were

not pre-existing. The Settlement Agreement placed Plaintiff Rapp in the untenable

position of having to comply with resultant orders which were impossible to execute,

first because Plaintiff Rapp, then-personal representative, had a conflict of interest

which the parties present at mediation, including Laufers, took advantage of during

mediation, and the other, because there was an insufficient amount of money in the

Berg Estate to satisfy all the remaining creditors, including the IRS, which is a

priority creditor, at the same time not a party to the Settlement Agreement. The

Defendants failed to reasonably prepare Plaintiff Rapp for mediation, failed to

reasonably and fairly represent Plaintiff Rapp at mediation, failed to ensure that the

Berg Estate’s assets, receipts, and liabilities were reasonably accounted for prior to

mediation, or alternatively, failed to seek postponement of court-ordered mediation

when it was reasonably determined that the Berg Estate’s accounting and

reconciliation with the co-mingled estate, the Estate of Vicki Garves-Berg (hereinafter

“Garves-Berg Estate”), was complete. Laufers, Brown Holmen, and Dudley failed to

inform Plaintiff Rapp that she should expect to commit to paying out every dollar yet

to be received by - and every dollar remaining in - the Berg Estate during mediation,

including those which remained unaccounted for during the first ten months prior to

her assuming personal representative responsibilities and those which had yet to be



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liquidated by opposing parties representing the Garves-Berg Estate.

       Further, Laufers, Brown Holmen, and Dudley advised Plaintiff Rapp to

separately enter another settlement agreement, this one with AXA, the aircraft

insurance company, (hereinafter “AXA Settlement Agreement”) which, once signed

on January 9, 2012, during mediation, paved the way for one of the wrongful death

claimants – Mary Weller (hereinafter “Weller”) - to receive not only a full payout of

the insurance policy limits but also continue to pursue her claims above that limit

against the Berg Estate. In return, the insurer was released from its contractual

obligation to defend the Berg Estate from any litigation or any other action related to

the plane crash.

       When Plaintiff Rapp raised issues she suspected made the Settlement

Agreement unworkable for the Berg Estate, starting with the bill she opened which

was presented her moments after signing the Settlement Agreement, Rapp promptly

raised her concerns with Laufers. Without obtaining Rapp’s permission, Laufers

conveyed in an email a portion of Rapp’s concerns to Stephan Rogge, one of the two

opposing counsel who was a party to the Settlement Agreement. This represents ex-

parte communication with opposing counsel. Laufers then refused to include some

of Plaintiff Rapp’s concerns with the then-proposed Settlement Agreement in a letter

she requested he write to the St. Croix County Court. Laufers’ errors post mediation

gave Plaintiff Rapp no option but to terminate Dudley’s contract for legal services and

forced her to go pro se in order to convey her concerns to the judge. She later hired a

new attorney once Laufer’s resignation was approved by the court.

       Pursuant to the forgoing actions and inactions, Defendants Laufers, Brown



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Holmen, and Dudley breached the applicable standard of care, breached the contract,

were negligent, misrepresented the Plaintiffs, and negligently misrepresented the

Plaintiffs in the legal representation of the Plaintiffs, Laura Rapp individually and

Laura Rapp, then-personal representative of the Berg Estate. Defendant Dudley also

failed to reasonably and properly supervise Defendants Laufers and Brown Holmen,

and as a result of the foregoing, Plaintiff Rapp is irreparably harmed both financially

and emotionally during a five year period which should have been the prime of her

life.

                              C. JURISDICTION, AND VENUE


1.      Plaintiffs bring their complaint under federal diversity jurisdiction, 28 U.S.C.

1332, as the parties are completely diverse in citizenship and the amount in

controversy exceeds $75,000.

2.      Jurisdiction and venue are appropriate in this forum because the Plaintiffs live

in California, while the Defendants live and conduct business in Minnesota; whereas

many of the events complained of in this Complaint occurred in Dunn and St. Croix

Counties, Wisconsin.

                                D. FACTUAL BACKGROUND

3.      At all times material, Defendant Laufers was under the direct supervision,

authority, employ and control of Defendant Dudley. Laufers is a Minnesota attorney

who has since left Dudley’s employment and now works for at an office located at

7701 Frances Avenue South, Suite 375, Edina, Minnesota 55435.

4.      At all times material, Defendant Brown Holmen was under the direct

supervision, authority, employ and control of Defendant Dudley. Defendant Brown


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Holmen is a Minnesota attorney with her office located at 101 East 5th Street, Suite

2602, St. Paul, MN 55101.

5.     At all times material, Defendant Dudley continues to be a law firm operating in

the State of Minnesota. Dudley is managed by Attorney Joseph J. Dudley Jr. and is

located at 101 East 5th Street, Suite 2602, St. Paul, MN 55101.

6.     Laurence A. Berg and Vicki Garves-Berg, husband and wife, died together on

January 30, 2009 in a plane crash along with a friend, Brett Weller.

7.     Laurence Berg is presumed to have been the pilot of the plane, based upon an

NTSB report, though this was never proven in court.

8.     Laurence Berg was the brother of Plaintiff Rapp.

9.     James A. Berg, was the father of Laurence Berg and Laura Rapp.

10.    James Berg was initially appointed personal representative to the Estate.

11.    James Berg hired Cummins Law Office, P.A., to represent him as personal

representative of the Berg Estate. Attorney Dwight Cummins represented the Berg

Estate through at least September 14, 2009.

12.    No tort actions were commenced based on the deaths of Vicki Garves-Berg or

Brett Weller, but three claims were filed against the Berg Estate based on tort

theories:

            a. On June 22, 2009, Brett Weller's wife, Mary Weller (hereinafter

               “Weller”), filed a written statement of claim asserting that Laurence

               Berg negligently operated the airplane, resulting in Brett Weller's

               death. Weller sought compensation for pecuniary loss, loss of society

               and companionship, and funeral expenses. Her claim indicated the



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               amount was "undetermined."

           b. On July 2, 2009, Kenneth Garves, Vicki Garves-Berg’s father, on behalf

               of himself and the Garves-Berg Estate, filed two claims against the Berg

               Estate for an unspecified amount for “wrongful death, loss of society

               and companionship, loss of benefits and contributions.” The amount of

               the claim was similarly designated as “undetermined.”

13.    Attorney Cummins neglected to file an objection to any of the aforementioned

claims within 60 days.

14.    Due to developing health-related problems, James Berg resigned as personal

representative and on November, 10, 2009, his resignation was accepted by the St.

Croix County Court, and on the same date the Court appointed Laura Rapp, as

successor personal representative. The Court set Laura Rapp’s bond as out-of-state

personal representative at $150,000.

15.    On November 16, 2009, Empire Fire & Marine Insurance Company, as surety,

and Laura Rapp provided a bond in the amount of $150,000 to the Judge of St. Croix

County Circuit Court, Edward F. Vlack, III.

16.    The bond provides: “The condition of this obligation is such that if the

principal shall faithfully perform the duties as: personal representative [under Wis.

Stat. § 856.25] . . . then this obligation shall be void; otherwise it shall remain in full

force and effect.”

17.    The bond further provides:

               The principal(s) will at all times indemnify and save the Surety
               harmless from and against every claim, demand, liability, cost, charge,
               counsel fee, expense, suit, order, judgment or adjudication whatsoever
               in consequence of any bond, undertaking or recognizance executed or


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              procured by the Surety as mentioned herein, and in the even [sic] of
              payment by the Surety the principal(s) agree(s) to accept the voucher
              or other evidence of such payment as prima facie evidence of the
              propriety thereof and of the principal’s liability therefore to the Surety.

18.    In November, 2009, Rapp hired Attorney Joseph Earley (hereinafter “Earley”)

to represent her in her capacity of personal representative to the Berg Estate.

19.    On April 9, 2010, Weller filed a petition with the court, pursuant to Wis. Stat. §

859.40, to order that the non-testamentary proceeds of Laurence Berg's life

insurance proceeds and retirement account be made available to the Berg Estate for

the payment of his debts. Since Laurence Berg and Vicki Garves-Berg died

simultaneously, Laurence Berg’s father, James Berg (hereinafter “Berg”) had become

the benefactor of Laurence Berg’s life insurance and 401(k) proceeds totaling

$235,690.32 after the payment of taxes proceeds. [These proceeds would ordinarily

be exempt under Wis. Stat. § 815.18.]

20.    Excluding the non-testamentary proceeds which Weller sought to bring into

the Estate, the net value of the Laurence Berg was estimated to be $415,088.20,

according to an inventory Rapp filed with the Court on January 20, 2010.

21.    The relevant statutes providing for bringing non-testamentary proceeds into

the estate provides as follows:

              705.10 Nonprobate transfers on death. (1) A provision for a
              nonprobate transfer on death in an insurance policy, contract of
              employment, bond, mortgage, promissory note, certiﬁcated or
              uncertiﬁcated security, account agreement, custodial agreement,
              deposit agreement, compensation’ plan, pension plan, individual
              retirement plan, employee benefit plan, trust, conveyance, deed of gift,
              marital property agreement, or other Written instrument of a similar
              nature is nontestamentary. . ..(2) This section does not limit rights of
              creditors under other laws of this state.

              859.40 Creditor's action for property not inventoried. Whenever there


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              is reason to believe that the estate of a decedent as set forth in the
              inventory may be insufficient to pay the decedent's debts, a creditor
              whose claim has been allowed may, on behalf of all, bring an action to
              reach and subject to sale any property not included in the inventory,
              which is liable for the payment of debts. The creditor's action shall not
              be brought to trial until the insufficiency of the estate in the hands of
              the personal representative is ascertained; if found likely that the
              assets may be insufficient, the action shall be brought to trial. If the
              action is tried, any property which ought to be subjected to the
              payment of the debts of the decedent shall be sold in the action and the
              net proceeds used to pay such debts and to reimburse the creditor for
              the reasonable expenses and attorney fees incurred by the creditor in
              the action as approved by the court.

22.    A change in attorneys was then prompted by Earley when he indicated to

Rapp that he hadn’t anticipated the filing of lawsuits and his firm did not have the

infrastructure to defend wrongful death claims. He offered to continue to assist with

estate matters, but recommended Plaintiff Rapp hire a litigation attorney to represent

her in defense of the wrongful death claims, as he was the only attorney on staff at

Earley Law Firm, based in New Richmond, Wisconsin.

23.    On April 30, 2010, Rapp consulted her employer-provided referral firm,

Lifeworks, to search of a litigation attorney. Lifeworks referred her to Brown-

Holmen, a litigation attorney under the employ of Dudley.

24.    On May 4, 2010, Rapp met, telephonically, with Brown-Holmen, who had

invited Laufers to participate in the meeting. During that call, Brown-Holmen

indicated that Dudley expected all legal matters involving Plaintiff Rapp and the Berg

Estate be handled exclusively by its firm, so Rapp had no choice but to work with

Laufers if she wanted to receive counsel from Brown-Holmen pursuant to the

wrongful death claims. During this call, Laufers was purported to be a competent

and experienced estate attorney.



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25.    Rapp conveyed this information to Earley, who on May 28, 2010, filed a

Consent to Substitution of Attorneys.

       Plaintiff Rapp Hires Defendants Laufers, Brown Holmen, and Dudley

26.    On May 9, 2010, Plaintiff Rapp paid $2,500 on behalf of herself and the Berg

Estate to retain Brown Holmen and Laufers at Dudley in St. Paul, Minnesota. The

retainer check Rapp paid to Dudley cleared the Berg Estate bank account at the First

State Bank & Trust in Bayport, Minnesota on May 14, 2010.

27.    Until this case, Plaintiff Rapp had no prior experience with estates or litigation

and was reliant upon Laufers, Brown Holmen, and Dudley as legal advisors.

28.    At this point, the two estates, the Berg Estate and Garves-Berg Estate, had not

yet liquidated all of the marital assets, nor had the two estates reconciled all its

receipts and expenses which had been received and incurred on each estate’s behalf.

Plaintiff Rapp’s expectation based upon numerous statements and representations

made by and between attorneys representing both the Berg and the Garves-Berg

Estate, including Laufers, as well as the CPA for the Berg Estate was that the two

estates would need to reconcile receipts and expenses before being able to close

either estate.

29.    On April 30, 2010, Earley filed a response to Weller’s April 9, 2010, Petition,

denying the claim of unspecified amount and denying that Wis. Stats 859.40 and

705.10 apply in this case. In this response, Earley objected to Weller’s June 22, 2009,

claim of unspecified amount and objected to Garves’ July 2, 2009, Claim of

unspecified amount, indicating that both claims were therefore incomplete and/or

contingent , and still subject to challenge.



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30.    By May, 2010, Laufers, Brown Holmen, and Dudley were now representing the

Plaintiffs. Dudley filed a response to the petition indicating that because Weller failed

to specify any amount, her claim was “incomplete and or contingent and is still

subject to challenge.”

31.    When Dudley ﬁled its objection, the basis for the objection was that the claim

did not specify an amount.

32.    Dudley did not object to or dispute the claim’s assertion that Brett Weller’s

death was caused by negligence on the part of Laurence Berg. Dudley’s objection to

Weller’s petition, filed at the same time, also did not contest that Brett Weller’s death

was caused by negligence on the part of Laurence Berg.

33.    On June 14, 2010, Garves and the Garves-Berg Estate filed amended claims

against the Berg Estate specifying a claim amount of $500,000.

34.    On July 14, 2010, Weller filed a Memorandum of Law in support of her petition

seeking a court determination that Berg’s assets from his employment were subject

to the claims of his creditors. The petition further asserted that Weller's claim had

not been contested and was therefore deemed allowed.

35.    On July 9, 2010, Weller filed an amended claim against the Berg Estate

specifying a claim of $2,000,000.

36.    On August 10, 2010, using a Minnesota probate form, Laufers, Brown Holmen,

and Dudley filed with the St. Croix County Probate Registrar a notice of disallowance

of Weller and Garves’ claims, using a Minnesota probate form called a “disallowance

of claim”, but did not file any notice of disallowance of claims by the Garves-Berg

Estate. Furthermore, Dudley attempted to apply Minnesota law regarding the period



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for timely response, rather than Wis. Stat. § 859.33.

37.     Because their claims had not been timely objected-to, Weller, Garves, and the

Garves-Berg Estate petitioned the St. Croix County Circuit Court to bring non-

testamentary proceeds into the Berg Estate because the Berg Estate’s assets were

insufficient to cover its liabilities.

38.     The assets Weller, Garves, and the WDOR sought to pull back into the Berg

Estate included life insurance, accidental death and dismemberment policies (which

were not paid out, as previously indicated), and the 401(k).

39.     The Court held on January 7, 2011 that it was likely that the Berg Estate would

not have enough assets to satisfy all claims and ordered James Berg to pay the money

Wis. Stat. § 859.13 reads in relevant part as follows:

                [n]o claim shall be allowed unless it is in writing, describes the nature
                and amount thereof, if ascertainable, and is sworn to by the claimant or
                someone for the claimant that the amount is justly due, or if not yet
                due, when it will or may become due, that no payments have been
                made thereon which are not credited, and that there are no offsets to -
                the knowledge of the afﬁant, except as therein stated.

40.     Wis. Stat. § 859.33 sets forth the procedure to contest a claim and requires

that objections be “served upon or mailed to the claimant and ﬁled with the court

within 60 days after the copy of the claim was mailed to or served upon the personal

representative or the attorney for the estate.”

41.     Also on January 7, 2011, the circuit court judge, Judge Vlack, issued an Order

holding that the Berg Estate had "allowed for purposes of [Wis. Stat.] § 859.40" all

three claims by failing to object within sixty days. See Wis. Stat. § 859.13. The Court

further determined the Berg Estate would be unable to pay all of its debts if it were

ultimately found liable for the alleged torts.


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42.    As the Court further stated in its Order:

              Whether or not Wis. Stat. § 859.40 allows Mary Weller and the Vicki L.
              Garves-Berg Estate to reach the non-testamentary property turns
              largely on whether the wrongful death claims are considered Berg’s
              debt. Mary Weller’s claim, for $2,000,000.00 and the claims of Garves
              and the Vicki L. Garves-Berg Estate for $500,000.00 would make the
              Estate of Berg’s inventory short of covering its debts. Should Laurence
              Berg ultimately be found legally liable for the crash and unfortunate
              deaths of himself, his wife and Brett Weller, it is certain that his estate
              will be insufﬁcient to pay its debts under § 859.40.

43.    The Court concluded:

              At this stage of the proceedings, Mary Weller, Kenneth Garves and the
              Vicki L. Garves-Berg Estate have persuaded the Court that their claims
              complied with Wis. Stat. § 859.13 and were allowed as the Estate of
              Laurence Berg failed to ﬁle timely objections as required by Wis. Stat. §
              859.33. Furthermore, the Court also agrees that the claimants are
              creditors when the broad sense of that Word is read into § 859.13,
              Based upon the assets of the Estate of Laurence Berg and potential
              liabilities, it is also likely that the estate will ‘lack sufficient assets to
              cover its debts.

              The claimants established the requisite elements of a viable claim under
              § 859.40 and, for the reasons set forth herein, IT IS HEREBY ORDERED
              THAT the petition of the claimants is granted and James Berg is
              ordered to pay the amounts he received in life insurance proceeds and
              401(k) proceeds into the Court.

44.    Berg was ordered to pay into the court the non-testamentary life insurance

and 401(k) proceeds he received following his son's death.

45.    After placing those funds in a Wells Fargo Bank account until the control of the

St. Croix County Court, James Berg appealed the court’s January 7, 2011, Decision.

46.    Nevertheless, as a direct and proximate result of the negligence of Laufers,

Brown Holmen, and Dudley, the Berg Estate conceded liability on the claims of Weller,

Garves, and the Garves-Berg Estate.

47.    Because the Court concluded that the claims were deemed allowed, the only



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issue for resolution was the amount of damages.

48.    On May 13, 2011, the IRS filed a Final Notice and Intent to Levy on the

Laurence A. Berg Estate the amount of $195,221.62 for 2006 to 2008 for federal

income taxes owed. This Notice was sent to Laufers via email by the Vicki Garves-

Berg Estate on May 18, 2011.

49.    On May 16, 2011, the IRS filed a Notice of Federal Tax Lien on the Laurence A.

Berg Estate in the amount of $67,948.33 for 2006 and 2007 federal income taxes

owed. This Notice was sent to Laufers via mail by the Vicki Garves-Berg Estate on

June 1, 2011.

50.    On July 7, 2011, Krzoska filed an affidavit reiterating the need to reconcile

accounts between the Garves-Berg Estate and Berg Estate.

51.    On July 11, 2011, Laufers advised Plaintiff Rapp that the accounting

reconciliation was necessary to “make sure as much money is preserved as possible

for all creditors (because as a formally administered estate, we require the) Judge’s

approval to pay all claims.”

52.    On August 3, 2011, Gille emailed Plaintiff Rapp, referring to the lack of

response from (Laufers) regarding documents in the file which she needed to

complete the accounting.

53.    In an August 3, 2011 email to Defendant, Plaintiff Rapp summarized the joint

income tax liabilities of the Berg Estate and the Garves-Berg Estate, as well as the

fiduciary tax liability of the Berg Estate. Rapp expressly noted that penalties and

interest were excluded from her summary because she did not know what those

figures were since the IRS notices are being sent to the Garves-Berg Estate’s mailing



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address in LaCrosse, Wisconsin. Defendant Laufers acknowledged this information

in his email response dated August 3, 2011.

54.    On October 11, 2011, the IRS filed a Notice of Federal Tax Lien Filing against

the Berg Estate in the amount of $44,741.90 for 2009 Fiduciary Tax Due, pursuant to

a 1041 Tax Filing. Including interest and late penalties, the total fiduciary tax due was

$50,545.87.

55.    On November 1, 2011, Plaintiff Rapp forwarded the aforementioned document

to Laufers via email, pointing out that a hearing must be requested with the IRS by

November 18, 2011.

56.    On December 5, 2011, while the appeal in In re Berg I was pending, the court

ordered “all parties, claimants, creditors, or anyone who may claim an interest in, or

against, (the Berg Estate), participate in mediation.

57.    On December 12, 2011, Dudley emailed Plaintiff Rapp a letter directed to

Laufers from the IRS; it provided the IRS’ position when distributions are made from

an estate: “in making any distribution from the estate, we draw your attention to 31

U.S.C. Section 3713(a) and (b), which provide for the payment of priority Federal

claims when the decedent dies insolvent. This section provides that a claim of the

United States government shall be paid first when the estate of a deceased debtor is

insufficient to pay all debts of the debtor. The priority of the United States cannot

be impaired or superseded by State Law (emphasis added). Any executor,

administrator or other person who fails to comply with these priority provisions,

may become personally liable for said debt.” This letter goes on to list the following

five judicial exceptions to the absolute priority: reasonable costs of administrative



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expenses; prior perfected real estate mortgages; judgements perfected prior to the

filing of notice of federal tax lien; funeral expenses; and reasonable widow’s/family

allowance, if permitted under appropriate State law.

58.    On December 12, 2011, Dudley provided Plaintiff Rapp a copy of a letter being

mailed the same day to CPA Gille, which referred to correspondence and documents

Dudley received from the barrister settling the Canadian property sale and ING

statements. Plaintiff Rapp’s referenced copy of the letter did not include enclosures.

59.    On December 12, 2011, Laufers emailed Plaintiff Rapp regarding his receipt of

“something from the IRS regarding IRS policy on past due tax debt in estates” and

goes on to state “It favorably clarifies the issue of personal liability that you were

concerned about.”

60.    On December 14, 2011, Dudley provided Plaintiff Rapp a copy of a reminder

letter sent to Laufers dated December 12, 2011. It reminded Laufers and opposing

counsel that “submissions (are) due by January 3. Please take a moment to make

sure you will be in a position to go forward with the mediation on that date.”

61.    On December 15, 2011, Laufers emailed Plaintiff Rapp, stating “I had a

conversation with the General Counsel of the IRS for Wisconsin. Nothing bad at all. I

would like to talk with you about what occurred.”

62.    On December 16, 2011, Plaintiff Rapp requested via email an appointment to

discuss the proposed letter to mediator, the proposed settlement on plane insurance

policy, and Laufers’ discussion with the IRS.

63.    On December 19, 2011, CPA Gille emailed Plaintiff Rapp, indicating that she

had “received a package from [Laufers] late last week. He provided the ING



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statement…and a copy of the Canada closing statement. It was a crazy week, and I

haven’t had a chance to review any of it yet, or I would have let you know.”

64.    On December 20, 2011, Plaintiff Rapp received via email a formal letter from

Laufers indicating that “We need to send out a list of expenses paid by the estate

soon. It was my understanding that Cathy was going to be working on that project.

Can you get that to me by Tuesday, December 27, 2011(?)”

65.    On December 27, 2011, Krzoska emails the following request to Laufers “In

preparing for the upcoming mediation, we would like to exchange financial

information so that both sides know what cash is available for settlement of the

IRS/Wisconsin Department of Revenue claims and therefore if there is anything

available for the other claimants. We should also reconcile whether the Estates owe

each other money based on joint expenses that were paid by one or the other. Do

you have that information ready to exchange?”

66.    On December 27, 2011, Laufers responded to Krzoska “I am working on that

information. I will have it to you by no later than January 3.”

67.    On December 27, 2011, Laufers forwards the above email exchange to Plaintiff

Rapp stating “I would like to have this information compiled by January 3. I will need

Cathy (CPA Gille) to help do this.”

68.    On December 28, 2011, Rapp forwarded an attachment titled “LAWRENCE

BERG ESTATE”, asking Laufers “Do you mean you need something more than what

(CPA Gille) provided us on December 9th (please see the attached). As you can see

from (CPA Gille’s) transmitting email, she cannot do a reconciliation of the balance

sheet without access to additional information. From looking through my files, I am



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unable to provide much of any of the reconciling information, as the information

provided in the files I inherited (from former personal representative James Berg)

contain insufficient detail. Perhaps if you provided both (CPA Gille and me) the work

that Shelly Brown from your office did, that would help (CPA Gille) get started.”

[Note: the December 9, 2011, Attachment contained a list of some questions/issues

that CPA Gille indicated she had, including some prior requests, and asked Laufers to

advise if she had posted any transactions to the wrong account. The attachment also

reflected $178,337.97 in the Berg Estate bank account, $0 due from the Garves-Berg

Estate account, and no mention of any amount due to the Berg Estate pursuant to the

Canadian property sale.]

69.    On December 28, 2011, Plaintiff Rapp emailed Laufers a series of questions

and comments in preparation for the meeting they requested in reference to the

preceding item. Among their questions was whether the upcoming mediation was a

joint one with the Garves-Berg Estate, and if so, Plaintiff Rapp stated her desire to

ensure during mediation that the Berg Estate not agree to paying any more than one-

half of the back-taxes, penalties, and interest owed to the IRS and the State of

Wisconsin pursuant to Vicki Garves-Berg’s business income which she neglected to

properly report in 2006, 2007, and 2008, and for income earned in 2009. Plaintiff

Rapp reminded Laufers in this email correspondence that Laurence Berg was flying

that plane on January 30th for Vicki’s business reasons: to bring her back home from

her out-of-town business venture. Had the plane not crashed, Plaintiff Rapp

reminded Laufers, Vicki Garves-Berg would have written off the associated trip

expenses against her business income. Plaintiff Rapp added that Laurence Berg paid



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the ultimate cost for Vicki Garves-Berg’s business; therefore, his estate should also

not have to pay any more than its share of Vicki Garves-Berg’s lingering debts.

Plaintiff Rapp also asked about creditors who were not notified about the upcoming

mediation, including the creditor who owned the Berg Estate home loan. Plaintiff

Rapp asked if the aforementioned creditor foreclosed and forgave the debt, because

she was unclear in that regard, and indicated she still had the questions she detailed

in her October 19, 2011, email to Laufers. Lastly, Plaintiff Rapp said “Since estate

administration expenses are paid first, even before IRS debt, and I noticed the IRS

reinforced the importance of them being reasonable in its latest letter, I was

wondering if it’s important to clearly document and agree to the estate administration

expenses, including attorney and (personal representative) fees, during this

mediation? I have read that (personal representative) fees ranging from 3-5% are

reasonable and customary; given the protracted nature of this estate and all the time

and effort we’ve all devoted to its resolution, I propose the estate pays me a (personal

representative) fee of 5%.”

70.    Following a December 28, 2011, teleconference with Defendant Laufers,

Plaintiff Rapp provided Laufers a summary of the parties interested in the mediation

in a December 28, 2011, pursuant to his request. In this email, Plaintiff Rapp

reminded Laufers about the real estate located at 713 Rose Street in LaCrosse,

Wisconsin which was held in Vicki Garves-Berg’s name and her brother, Daniel

Garves’ name, until her passing. [In accordance with Wis. Stat. § 859.40, this real

estate may available to pay the joint tax obligations of the Berg Estate and the Garves-

Berg Estate, particularly the portion that arose as a result of Vicki Garves-Berg’s



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failure to report on her tax returns income she earned from her Vital Anesthesia

Services, Ltd. business.]

71.    In this same email, Plaintiff Rapp reminded Laufers that opposing counsel

Stephan Rogge - who continued to represent Garves throughout these proceedings

until he passed away - told co-counsel Krzoska, who conveyed to Berg-Estate counsel

that he considered himself as Laurence Berg’s best friend, and that he was married to

Vicki Garves-Berg’s best friend. In Plaintiff Rapp’s mind, Attorney Rogge should have

recused himself from this case, and/or he Berg Estate should have made an issue of

it, but neither of those things occurred.

72.    In his letter to the mediator, Laufers conveyed some, but not all of Plaintiff’s

Rapp’s requests of the mediator. Upon reflection, none of Plaintiff Rapp’s requests

were incorporated into the Settlement Agreement.

73.    On December 28, 2011, Laufers formally requested from CPA Gille via email a

statement by Monday morning (January 2, 2012) of the following: current assets

including all cash in hand and values of all non-cash assets and current liabilities.

Specifically, Laufers wanted an indication of what amount “we have on hand” to settle

estate liabilities. He also wanted a separate schedule indicating all expenses of

administration, including attorneys’ fees, accountant fees, and expenses paid on other

assets owned by the estate. He enclosed an inventory of the Berg Estate as of the date

of Laurence Berg’s death, January 30, 2009.

74.    CPA Gille responded to Laufers’ last minute, ill-timed request as follows:

“…Since it is Wednesday afternoon, and I have appointments filling the rest of today,

the earliest I will be able to look at this file is tomorrow. I have several appointments



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scheduled for tomorrow, since this is the end of year tax planning time. Our office

closes at Noon on Friday and will not reopen until Tuesday, due to the New Years

holiday. Unfortunately, I have been trying to work on this file for many, many months

and have had little assistance from the legal side (Dudley) in those efforts. The timing

of the recent request is very unfortunate, as I have made promises and have several

deadlines pending. I am not willing to break those promises and shortchange my

clients in their year-end planning work in order to meet this short deadline on a

project that should have been completed long ago. I have provided your office with a

complete general ledger which lists every transaction I have been made aware of.

Please use this information to compile the information you currently need, and I will

attempt to find some time tomorrow or Friday to again open the file.”

75.     Recognizing the challenged presented by Laufers’ delinquent request, Plaintiff

Rapp, who is not an accountant, assembled a statement of financial position based

upon her best guess of the Berg Estate’s assets at the time. There were several items

that were clearly noted as estimated or identified as incomplete on this one-page

form.

76.     Laufers responded to Plaintiff Rapp’s aforementioned email with “that is

exactly what I needed”.

77.     CPA Gille subsequently checked in with Laufers and asked him if there was

anything else he needed (in preparation for mediation) and Laufers responded again

that he had everything he needed.

78.     Shortly before mediation, Laufers sent a letter to the mediator, along with the

non-accountant prepared Statement of Financial Position prepared by Laura Rapp,



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representing to all that it was CPA-prepared. Laufers failed to acknowledge in the

letter the deficiencies in the provided information.

Laufers, Brown Holmen, and Dudley Failed to Ensure a Reasonably Complete and

           Accurate Accounting of the Remaining Assets of the Berg Estate

                        in Advance of Court-Ordered Mediation

                                    or, alternatively,

      Laufers, Brown Holmen, and Dudley Failed to Request a Delay in Mediation

79.      Examples thereof of the Statement of Financial Position’s deficiencies, besides

the estimates and deficiencies expressly identified, were that it excluded assets or the

liquidation-thereof that had been in the possession of Garves and opposing counsel

for the co-mingled Garves-Berg Estate, one-half of the proceeds of which should have

been paid to the Berg Estate. These assets were identified for the court through

Plaintiff Rapp’s interim accounting dated October 31, 2012. The tally for these items

was an estimated $121,000 which remained, and as far as Rapp knows remains, due

from the Garves-Berg Estate. Besides Garves-Berg’s share of the joint federal income

taxes paid on its behalf, this includes the Berg Estate’s share of marital assets sold or

otherwise liquidated, including a Mercedes, a mink coat, an insurance payout for lost

or damaged gold, diamond, and silver jewelry, and proceeds from the sale of the

household furnishings following auction, and proceeds from the sale of Vicki Garves-

Berg’s business, as well as proceeds from intellectual property rights which may have

been sold or gone unrecognized by the Garves-Berg Estate.

80.      On more than forty occasions between 2010 and early 2012, counsel

including Earley, Krzoska – counsel to the Garves-Berg Estate, and even Laufers



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himself would formally refer to the need to reconcile the accounting of the Berg

Estate and the Garves-Berg Estate. CPA Gille would oftentimes do the same.

81.    Further, in spite of Laufers knowledge of the CPA Gille’s work on the Berg

Estate accounting, Laufers and Dudley required the Berg Estate to also pay for the

Dudley accounting or bookkeeping services of Shelly Brown to enter the accounting

information in a form Dudley required; however the results or benefit thereof was

never made provided to CPA Gille or Plaintiff Rapp.

            Laufers, Brown Holmen, and Dudley Failed to Ensure the Assets of the

           Berg Estate were Liquidated, all Expenses Were Fully Identified, and All

           Shared Receipts and Expenses with the Co-mingled Garves-Berg Estate

                Were Reconciled in Advance of the Court-Ordered Mediation

                                         and

            Laufers and Brown Holmen Failed to Reasonably Prepare

                            Plaintiff Rapp for Mediation

82.    Several days before mediation, Plaintiff Rapp requested the opportunity to

meet with Laufers the day prior to mediation in order to prepare for mediation.

Alternatively, she indicated she offered to meet him a few hours before mediation

begins.

83.    Laufers responded that they can meet 15 minutes before mediation was

scheduled to begin.

84.    Mediation was held on January 9, 2012.

85.    Plaintiff Rapp appeared at the mediation as the personal representative of the

Berg Estate, represented by Laufers.



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86.    The first part of mediation was devoted to settling a claim Weller made against

AXA Insurance, the insurance carrier for Laurence Berg’s and Vicki Garves-Berg’s

airplane which crashed. Laufers advised Plaintiff Rapp to sign a settlement

agreement between the Berg Estate, AXA Insurance Company, and Weller. The

settlement agreement provided that the insurance carrier pay out the face value of its

policy $100,000 + $3,000 medical benefit for funeral expenses to Weller. The

agreement fully released AXA from any further claims, including its responsibility to

defend the Berg Estate from accident-related litigation. It also allowed Weller to

continue to pursue the Berg Estate for further claims against the Berg Estate. The

Berg Estate received questionable benefit, and neither the Berg Estate nor its

personal representatives were released from further liability arising out of accident-

related claims.

87.    James Berg did not attend mediation; however, the initially proposed

settlement agreement that Laufers advised Plaintiff Rapp to sign called for James

Berg to pay $120,000 to the Berg Estate. When asked how she can sign something

which she didn’t know whether her elderly father was willing to contribute, Laufers

advised Plaintiff Rapp to contact James Berg to see if he would be willing to pay the

$120,000 towards settling the claims made against him by Weller and Garves.

Laufers’ advice to Plaintiff Rapp represented a conflict of interest to Rapp and

Laufers should have never put his client in this position. This situation distracted her

from the outset of mediation from her interest in settling the affairs of the Berg

Estate and instead put her in a position where she was negotiating with her elderly

father and his attorney, rather than concentration on settling the Berg Estate.



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Plaintiff Rapp’s father’s health had been deteriorating following the sudden and

unexpected passing of his only son, Laurence Berg, combined with the near

relentless pursuit he was experiencing from Garves and Wellers’ attorneys.

88.      The parties at mediation and James Berg reached a settlement agreement (of

sorts) on January 10, 2012, the day following mediation.

 Laufers Advises Rapp to Sign the Settlement Agreement Which Did Not Resolve

      All Financial Matters Pertaining the Berg Estate and Committed Rapp to a

                Substantial Obligation the Berg Estate Could Not Pay

89.      Laufers encouraged her to settle pursuant to an “agreement” that James Berg

would pay $120,000 to the Estate, with $80,000 going to Weller and $40,000 to

Garves. In exchange, Weller and Garves agreed to a “complete release of all claims,

past, present, and future[,]” which effectively required two separate parties to

perform before either party could receive a release.

90.      The Settlement Agreement directs the Berg Estate to pay $200,000 to the

taxing authorities, though it does not specify what amount would be paid to which

authorities and for what type of taxes.

91.      WDOR agreed to accept $64,719 as payment in full “subject to ﬁnal review

and approval by the Department,” although, again, there was no agreement as to

which estate or estates would pay this amount or when.

 Laufers Advised Plaintiff Rapp to Write Payout Substantially All of the Funds in

 the Berg Estate Bank Account, Before the Settlement Agreement Was Approved

             by the Court Overseeing this Formally-administered Estate.

92.      On January 10, 2012, the day after mediation, Laufers advised Rapp to pay all



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more money than there was in the Berg Estate account to the IRS and to the WDOR.

Rapp followed Laufers’ advice and directed a check to the IRS, but expressed concern

that the payment Laufers instructed Rapp to make would cause her to overdraw the

Berg Estate account. Furthermore, she questioned Laufers’ advice to pay an agreed

upon amount pursuant to an agreement that was not yet approved by the court for

this formally administrated Berg Estate (which was not approved until seven months

later).

93.       Further, Rapp had been advised during mediation that payments to taxing

authorities come after the costs of burial and the costs of administration, but Rapp

had not yet received her fees for serving as personal representative, nor had the Berg

Estate been fully settled, so additional estate administration costs could arise, as they

did immediately after mediation when, for example, an unanticipated bill from the

mediator was presented.

94.       Further, payment of all of the Berg Estate funds would not resolve the claims

of the wrongful death claimants and would leave no money to pay any additional tax

liability to the IRS, since the IRS was not a party to the Settlement Agreement.

95.       At Laufer’s instruction the day after mediation, before Rapp had the

opportunity to review the Settlement Agreement, Plaintiff Rapp paid the IRS

$161,567.24 from the Berg Estate bank account.

96.       In the same email, Laufers also instructed Plaintiff Rapp to pay the WDOR $38,

432.76, as well; however, Plaintiff Rapp had to in turn remind Laufers that doing so

would cause the Berg Estate to overdraw its account, evidencing the fact that Laufers

did not have a grasp of the financial position of the Berg Estate, either then, or at the



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January 9, 2012, mediation.

97.    The payment to the IRS largely depleted the assets of the Berg Estate, and

when combined with the proposed payment to the WDOR, left no funds for

administration, much less compliance with the Settlement Agreement.

98.    Meanwhile, on January 18, 2012, the Wisconsin Court of Appeals reversed

Judge Vlack’s January 7, 2011 Order for Berg to pay the life insurance and 401(k)

proceeds he received following Laurence Berg’s passing. In re Estate of Berg, 2012

WI App 27, 339 Wis2d 491, 809 N.W.2d 901 (“In re Berg I”) in part, holding that

Laurence’s life insurance and 401(k) proceeds, paid to James Berg, were not “liable

for the payment of debts” under Wis. Stat. § 859.40:

              Therefore, none of the nontestamentary proceeds Berg received were
              liable for the payment of the three tort claims that were contingently
              allowed against Laurence’s Estate. Consequently, the circuit court
              erred when, relying on the tort claims, it ordered that the
              nontestamentary proceeds be made available for payment of the
              Estate’s debts under Wis. Stat. § 859.40.

      Laufers Participated in Ex-parte Communication, Then Refused to Raise

         Substantive Concerns of Plaintiff Rapp’s in a Letter She Requested

                                He Write to the Judge

99.    Soon thereafter, Plaintiff Rapp raised with Defendant Laufers issues she

suspected made the Settlement Agreement unworkable for the Berg Estate, starting

with the bill she opened which was presented her moments after signing the

Settlement Agreement. Without obtaining Rapp’s permission, Laufers conveyed in

an email a portion of Rapp’s concerns to Stephan Rogge, one of the two opposing

counsel who was a party to the Settlement Agreement. Laufers then refused to

include some of Plaintiff Rapp’s concerns with the then-proposed Settlement


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Agreement in a letter she requested he write to the St. Croix County Court. As a

result, Plaintiff Rapp had no option but to terminate Dudley’s legal services.


100.   On January 23, 2012, Garves ﬁled a motion to approve the settlement

agreement.

101.   Plaintiff Rapp, on behalf of the Berg Estate, objected on the primary

contention was that the Berg Estate did not have sufﬁcient assets, at the time of

mediation, to fulﬁll the agreement.

102.   Plaintiff Rapp also objected that the agreement lacked speciﬁcity, as it: (1)

failed to reconcile the co-mingled Berg Estate and Garves-Berg Estate; (2) conﬂicted

with Wis. Stat. § 859.25; and (3) had no deﬁciency provision.

103.   Meanwhile, on March 20, 2012, James Berg died while the motion to approve

the Settlement Agreement was pending.

104.   In spite of Rapp’s objections, Judge Vlack approved the settlement without

modification by order on May 11, 2012.

105.   Ms. Rapp moved for reconsideration of that decision on May 30, 2012.

106.   Because the Settlement Agreement was approved by the Judge after James

Berg’s passing, the amount Berg committed to pay Weller and Garves via the Berg

Estate were now subject to the probate laws of the State of Texas.

107.   Whereas, the funds held by the St. Croix County Court in Wells Fargo Bank at

the time of James A. Berg’s passing were funds which James Berg had originally

placed his living trust account with Wells Fargo Bank, years before the January 10,

2012, Settlement Agreement. As such, those funds necessitated return to Berg’s trust

following the Appellate Court January 18, 2012, Ruling.


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108.   On June 19, 2012, while her motion for reconsideration was pending, Rapp

was appointed executor of the James A. Berg Estate in Travis County, Texas.

109.   On August 13, 2012, Judge Vlack entered an order denying Ms. Rapp’s motion

for reconsideration, challenging the Settlement Agreement.

110.   Two weeks later, on August 27, 2012, Garves filed two afﬁdavits and two

proposed orders. Garves sought to “docket” the August 13, 2012, Order as the ﬁnal

“judgment.”

111.   The circuit court signed both proposed orders, without modiﬁcation, on

September 17, 2012. The ﬁrst order directed that within five days Rapp “shall collect

$120,000.00 from the Estate of James Berg, or from James Berg’s Living Trust, or

from any other asset that James Berg may have ever owned.”

112.   The second order directed the Laurence Berg Estate to “make payment in the

amount of $38,432.76 to the Wisconsin Department of Revenue within ﬁve (5) days

of this Order.”

113.   The most critical defect was that the orders created a conﬂict of interest

between Rapp’s ﬁduciary duties as personal representative to the Berg Estate and her

ﬁduciary duties to the James A. Berg Estate. Under Texas law, Rapp could not just

“pay” $120,000 from the James A. Berg Estate, particularly to creditors without

claims on ﬁle with the estate.

114.   Moreover, Ms. Rapp had a ﬁduciary obligation to comply with Texas law, the

priority statute that governed payment of all claims. Tex. Estate Code § 355.102.

115.   Likewise, the order to pay $38,432.76 to WDOR was impossible to follow

because by August 13, 2012, the Berg Estate was practically insolvent.



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116.    Furthermore, the IRS asserted additional claims over and above those already

paid by Plaintiff Rapp out of the Berg Estate, pursuant to the Settlement Agreement.

117.    Plaintiff Rapp has received zero compensation for her role as personal

representative for the Berg Estate. In fact, she has advanced over $150,000 to the

Berg Estate to cover legal expenses as a direct result of the negligence of Laufers,

Brown Holmen, and Dudley. See Wis. Stat. § 859.25(1)(a) (costs and expenses of

administration shall be paid first), and the associated legal expenses continue to

grow.

118.    The foregoing is also a violation of Plaintiff Rapp’s civil rights in that she

deserves fair and reasonable compensation for her nearly three years’ worth of work

as personal representative to the Berg Estate, work which unquestionably occurred

between November, 2009 and September, 2012, and continued well beyond the date

in which the Appellate Court accepted Rapp’s September, 2012, resignation finally in

2015.

119.    The order for the Berg Estate to pay WDOR created another problem. If Rapp

as personal representative had paid the WDOR before she resolved the IRS claims,

she would face personal liability for the payments under federal law. 31 U.S.C. § 3713

(if the United States is not paid ﬁrst from an estate, the representative of that estate

“is liable to the extent of the payment for unpaid claims of the Government”).

120.    On September 24, 2012, Rapp filed a letter objecting to the two orders,

asserting her attorney was in the process of scheduling a hearing on them.

121.    Rapp contended that the order regarding the DOR was unnecessary and that

both orders were inappropriate because they had not been proposed by the parties



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ultimately entitled to the funds.

122.   Additionally, Plaintiff Rapp sought to resign as personal representative of Berg

Estate and be discharged on her personal representative’s bond.

123.   At the October 1, 2012, Hearing, Plaintiff Rapp asserted she could not comply

with the order to collect $120,000 from James Berg’s estate because the order

created a conflict of interest between her role as personal representative of the Berg

Estate and her role as executor of the James A. Berg Estate. The court denied Rapp’s

requests to resign and be discharged on her bond.

124.   On October 8, 2012, Rapp moved for reconsideration of the September 17,

2012, Orders. Following numerous additional filings by various parties, the court

heard argument on April 8, 2013.

125.   Ultimately, the court entered a written order on October 7, 2013, denying

Rapp’s motions to reconsider the September 17, 2012, Orders.

126.   Additionally, the court held there was “no conflict of interest ... that would

prevent [Rapp] from complying with the Court’s order to collect $120,000.00 in

accordance with the Settlement Agreement. ... The conflict, if one exists, was created

when she accepted the position as personal representative of the James Berg Estate.”

127.   Further, the court indicated it was exercising its discretion to disallow Rapp’s

resignation as personal representative of Berg Estate.

128.   Rapp appealed the October 7, 2013, Order.

129.   On April 28, 2015, the Wisconsin Court of Appeals reversed the October 7,

2013, Order in part to the extent that Rapp would not be permitted to be removed as

personal representative.



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130.   The Court affirmed the Circuit Court’s holding that Rapp was required to

collect $120,000 from James Berg’s Estate.

131.   Because the Berg Estate was insolvent at this point, Garves, Weller, and the

WDOR moved the St. Croix County Court on or about September 29, 2015, to surcharge

the bond held by Empire Fire & Marine Insurance Co.

132.   Empire Cross-claimed against Plaintiff Rapp, individually, for payment of the

$150,000 bond amount.

133.   On October 28, 2016, the circuit court granted summary judgment to Weller

and the WDOR in the amount of $118,432.76, plus costs of $644.23.

134.   Plaintiff Rapp and Empire appealed.

135.   On October 31, 2017, the Court of Appeals upheld the circuit court’s decision.

136.   Plaintiff Rapp and Empire have since petitioned the Wisconsin Supreme Court

for a review of this case and are awaiting the Supreme Court’s decision.

137.   Empire has exhibited its intentions to collect from Rapp the full cost of the

bond, should the Wisconsin Supreme Court not reverse this case. Even still, Empire

is expected to pursue Plaintiff Rapp for its legal costs.

138.   None of the motions, litigation, or appellate activity, which drained the

financial resources of Plaintiff Rapp, would have been necessary but-for the

negligence of Laufers, Brown Holmen, and Dudley for failing to adequately prepare

Plaintiff Rapp for mediation, for failing to inform Plaintiff Rapp that she would be

expected to commit to paying out all of the Berg Estate’s assets at mediation, and for

advising Plaintiff Rapp to enter the January 10, 2012, Settlement Agreement which

caused and continue to cause Plaintiff Rapp financial and emotional harm.



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139.   None of the legal costs incurred by Plaintiff Rapp, personally, or as the former

personal representative to the Berg Estate, including the obligation to pay Empire,

the latter of which case is pending before the Wisconsin Supreme Court, would have

been incurred but-for the failure by Laufers, Brown Holmen, and Dudley to

adequately prepare Rapp for mediation, to reasonably account for the assets of the

Berg Estate in advance of mediation, and to reasonably advise Rapp in the settlement

of this probate and the wrongful death claims.

140.   Plaintiff Rapp has suffered personally as a result of the failure of Laufers,

Brown Holmen, and Dudley to reasonably advise her in the settlement of this case.

141.   Plaintiff Rapp has suffered personally because the settlement of this case did

not resolve the IRS’ claims against the Berg Estate, and it remains a priority creditor.

142.   Upon the advice of Laufers, Brown Holmen, and Dudley, Plaintiff Rapp signed

the January 10, 2012, Settlement Agreement, upon the belief that it would resolve all

the financial matters facing the Berg Estate. Instead, the Settlement Agreement

created problems for the Berg Estate and Plaintiff Rapp. Laufers, Brown Holmen, and

Dudley knew or should have known that Laufers engaged in misconduct, negligence,

and gross negligence similar to the misconduct alleged herein.

143.   As a direct result of the misconduct, negligence, and gross negligence by

Defendants’ actions and inactions, Plaintiff Rapp has suffered and continues to suffer

financial distress, severe emotional distress, loss of professional reputation, and

psychological injuries with attendant physical manifestations that have prevented the

Plaintiffs from normal daily activities and obtaining the full enjoyment of life. Plaintiff

Rapp, a federal government employee, was intending to retire when she reached the



                                            34
age of 56, which is her current age, but now she has to delay retirement another 5-6

years until she can reduce the debt that has been amassed as a result of the resultant

legal action that has been taken against her, all a direct result of the fall-out

associated with the January 10, 2012, Settlement Agreement which Laufers, Brown

Holmen, and Dudley advised her to sign.

144.   Because there is no money left in the Berg Estate to satisfy the wrongful death

claims and the tax liability owed to the WDOR (let alone the IRS or the remaining

costs of administration), Weller and the WDOR have received summary judgement

against Empire, via Rapp’s personal representative bond and Empire, as a result, is

seeking to collect on the bond from Rapp.

145.   Plaintiff Rapp is facing bankruptcy as a result.

146.   In addition to the foregoing, Plaintiff Rapp, as former personal representative

has been charged with contempt of court for failing to comply with the orders that

arose pursuant to the Settlement Agreement and that action remains pending.

                                        SUMMARY

       In conclusion, by proceeding with the January 9, 2012, Mediation with

incomplete and estimated financial information and not ensuring all federal taxes

including fiduciary taxes, penalties, and interest were factored into negotiations

during mediation, Laufers was grossly negligent in his representation of Plaintiff

Rapp. He grossly erred in advising Plaintiff Rapp to enter into the January 10, 2012,

Settlement Agreement and caused Plaintiff Rapp irreparable harm. As an attorney

hired to handle the affairs of an estate and reported to be experienced therein,

Laufers had a reasonable responsibility and duty of care to ensure that all claims,



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including claims associated with fiduciary taxes which are priority claims against an

estate, are paid upon the settlement of an estate in order to protect his client, the

then-personal representative, from associated liability. The IRS filed its claim against

the Berg Estate for fiduciary taxes on October 11, 2011 and Laufers received a copy

thereof on November 1, 2011, so he cannot deny knowledge thereof.

       The January 10, 2012, Settlement Agreement the Defendants advised Plaintiff

Rapp to sign not only did not resolve all of the outstanding financial issues related to

the Berg Estate, as ordered pursuant to mediation, but instead resulted in additional

and unresolvable problems for Plaintiff Rapp which did not previously exist. The

Settlement Agreement resulted in a deficiency in the payment to creditors or

claimants which placed Plaintiff Rapp in a position in an untenable position in which

she could not fulfill its terms.

       The Settlement Agreement neglects to provide for payment of all of the Federal

taxes due from the Berg Estate; it neglects to provide for a reconciliation of all receipts

due from and expenses paid on behalf of the Garves-Berg Estate; it operates as an

unintended and inappropriate waiver of the Personal Representative’s fees; and it

actually precludes settlement of the wrongful death claims against the Berg Estate and

the associated release thereof, and lastly, it provided the foundation for the wrongful

death claimants case against Plaintiff Rapp’s bond.

       Like in Helmbrect v. St. Paul Insurance Co., 122 Wis. 2d 94, 362 N.W. 2d 118

(1985), the Settlement Agreement that Laufers, Brown Holmen, and Dudley advised

the Plaintiffs to sign is unworkable and was so from the beginning, and the

Defendants did not exercise diligence or an ordinary standard of care in their duties



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to Plaintiff Rapp in preparing her for mediation and then advising her to sign the

Settlement Agreement. As a result, Plaintiff Rapp has experienced severe financial

and emotional distress since signing it because of the legal and financial problems it

created. Further, had Laufers, Brown Holmen, and Dudley advised Plaintiff Rapp to

enter a more carefully crafted set of settlement agreements, conclusion of the Berg

Estate could have been efficiently and effectively brought to a close and Plaintiff Rapp

would have not had to endure the financial and emotional distress and angst of the

past five plus years, culminating with the legal action now pending against Plaintiff

Rapp’s bond which is still outstanding in connection with the Berg Estate.

       Plaintiff requests the court toll the statute of limitations until a jury renders a

decision on this case or until the lawsuit is otherwise resolved.

                                          COUNTS

                              COUNT I - Legal Malpractice

147.   As a result of Defendants’ legal malpractice, Plaintiffs reassert the allegations

contained in the Complaint and incorporate them by reference as though fully set

forth herein.

                       COUNT II – Breach of Standard of Care

148.   As a result of Defendants’ breach of the standard of care, Plaintiffs reassert

the allegations contained in the Complaint and incorporate them by reference as

though fully set forth herein.

                            COUNT III - Breach of Contract

149.   As a result of Defendants’ breach of contract, Plaintiffs reassert the allegations

contained in the Complaint and incorporate them by reference as though fully set



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forth herein.

                            Count IV – Negligence

150.   As a result of Defendants’ negligence, Plaintiffs reassert the allegations

contained in the Complaint and incorporate them by reference as though fully set

forth herein.

                            Count V – Misrepresentation

151.   As a result of Defendants’ misrepresentation, Plaintiffs reassert the

allegations contained in the Complaint and incorporate them by reference as

though fully set forth herein.

                     Count VI – Negligent Misrepresentation

152.   As a result of Defendants’ negligent misrepresentation, Plaintiffs reassert

the allegations contained in the Complaint and incorporate them by reference as

though fully set forth herein.

                        Count VII – Negligent Supervision

                                 (DUDLEY DEFENDANT)

153.   Plaintiffs incorporate all paragraphs of this Compliant as if fully set forth

under this Count and further alleges that: At all times material, Laufers and

Brown Holmen were employed by Defendant Dudley and/or was under

Defendant’s direct supervision and control when they committed the wrongful

acts herein. Laufers and Brown Holmen engaged in legal malpractice while acting

in the course and scope of their employment with Defendant Dudley and failed to

exercise diligence and duty of care and thus accomplished the negligence and

gross negligence by virtue of their job-created authority. Defendant Dudley failed



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to exercise ordinary care in supervising Laufers’ and Brown Holmen’s in their

assignment and failed to prevent the foreseeable misconduct of Laufers and

Brown Holmen from causing harm to others and property.

154.   As a result of Defendant Dudley’s negligent supervision, Plaintiffs reassert

the allegations contained in the Complaint and incorporate them by reference as

though fully set forth herein.



All of the foregoing acts have been caused by or are associated with the malpractice

of the Defendants; each and every one ignoring the best interest and duty owed the

client. Discovery may yield further charges.



                                    E. RELIEF WANTED

       WHEREFORE,          Plaintiffs   demand    judgement      against    Defendants

individually, jointly, and severally in an amount in excess of $300,000 plus

costs, disbursements, reasonable attorney fees, interest, and awarding

whatever other relief the Court deems just and equitable.

         Plaintiffs as Trustee for hereby prays and for an order of the Court as follows:

1.     Adjudging that Defendants are liable to Plaintiffs Laura A. Rapp and Laura A.

Rapp, former personal representative, for their actual damages in an amount that

will be proven at trial;

2.     Awarding such other relief as the Court may deem just and equitable.




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                                   E. JURY DEMAND

       Plaintiffs want a jury to hear their case.


Dated this 25th day of December 2017.
 Respectfully Submitted,
        /s/Laura A. Rapp_______________
        Plaintiff Laura A. Rapp
        512-563-9135
        laurarapp61@gmail.com
       144 Corte Anita, Greenbrae, California 94904

        /s/Laura A. Rapp
        Plaintiff Laura A. Rapp, Former Personal Representative of the
        Laurence A. Berg Estate
        512-563-9135
        laurarapp61@gmail.com
       144 Corte Anita, Greenbrae, California 94904

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FILING FEE
 I DO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
complaint.

Dated: December 25, 2017

                                         By: /s/ Laura A. Rapp
                                             laurarapp61@gmail.com
                                             144 Corte Anita
                                             Greenbrae, CA 94904
                                             Telephone: 512-563-9135

                                         PRO SE REPRESENTATIVE


                                  ACKNOWLEDGMENT

       The undersigned hereby acknowledges that costs, disbursements, and
reasonable attorney’s fees may be awarded pursuant to Wis. Stat. § 814.03 to the
parties against whom the allegations in this pleading are asserted.

Dated this 25th day of December, 2017          __/s/ Laura A. Rapp_______________

                                                      Laura A. Rapp


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